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                                  No. 23-10362


             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT


  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF PRO- LIFE
   OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF PEDIATRICIANS;
  CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN JESTER, D.O.; REGINA
     FROST-CLARK, M.D.; TYLER JOHNSON, D.O.; GEORGE DELGADO, M.D.,
                                              Plaintiffs-Appellees,

                                         v.

U.S. FOOD & DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner of Food
 and Drugs; JANET WOODCOCK, M.D., in her official capacity as Principal Deputy
 Commissioner, U.S. Food and Drug Administration; PATRIZIA CAVAZZONI, M.D.,
in her official capacity as Director, Center for Drug Evaluation and Research, U.S.
  Food and Drug Administration; UNITED STATES DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; XAVIER BECERRA, Secretary, U.S. Department of Health and
                                   Human Services,

                                                        Defendants-Appellants,

                                         v.

                         DANCO LABORATORIES, L.L.C.,
                                                Intervenor-Appellant,


                  Appeal from the United States District Court
 for the Northern District of Texas, Amarillo Division, Case No. 2:22-CV-223-Z
             The Honorable Matthew J. Kaczmaryk, Judge Presiding


 BRIEF AMICI CURIAE OF 69 MEMBERS OF THE UNITED STATES
CONGRESS SUPPORTING PLAINTIFFS-APPELLEES IN OPPOSITION
 TO THE EMERGENCY MOTION FOR A STAY PENDING APPEAL
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               STATEMENT OF INTEREST OF AMICI CURIAE1

       Amici are 69 Members of the United States Congress, 11 Senators and 58

Members of the House of Representatives, representing 30 States. A complete list

of Amici is found in the Appendix to this brief. Congress delegates power to the U.S.

Food and Drug Administration (FDA) to approve drugs and regulate their safety and

efficacy. As pro-life elected representatives, Amici are committed to protecting

women and girls from the harms of the abortion industry. By approving and

deregulating chemical abortion drugs, the FDA has not followed Congress’

statutorily prescribed drug approval process and has subverted Congress’ critical

public policy interests in upholding patient welfare. The FDA’s lawless actions

ultimately endanger women and girls seeking chemical abortions.

             INTRODUCTION AND SUMMARY OF ARGUMENT

       Congress has carefully considered the approval process for new drugs,

instituting safeguards to protect patients’ welfare. The Federal Food, Drug, and

Cosmetic Act (FFDCA) ensures new drugs are safe and effective for patients. 21

U.S.C. § 355. The Pediatric Research Equity Act (PREA) recognizes that pediatric

patients face unique challenges, and therefore requires that drug assessments include




1
 No party’s counsel authored any part of this brief. No person other than Amici Curiae and their
counsel contributed any money intended to fund the preparation or submission of this brief.
Plaintiffs-Appellees, Defendants-Appellants, and Intervenor-Appellants received timely notice,
and have granted consent to the filing of this amici curiae brief on April 11, 2023.
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studies showing the safety and effectiveness of the drug for pediatric use, as well as

the proper dosing and administration for these young patients. Id. at § 355c.

Congress similarly has decreed that abortion-inducing drugs are “nonmailable

matter” by the United States Postal Service and private carriers, protecting women

and girls from the heightened risks of mail-order chemical abortion drugs. 18 U.S.C.

§§ 1461–1462.

       In spite of this, the FDA has approved and deregulated chemical abortion

drugs. The “chemical abortion pill” (also known as a “medical abortion”) is a

regimen of two drugs, mifepristone and misoprostol.2 “[M]ifepristone (brand name,

Mifeprex), is an antiprogesterone, which starves the pregnancy. The second,

misoprotol (brand name, Cytotec), a prostaglandin, causes the uterus to contract,

which mechanically expels the fetus and placenta.” Clarke D. Forsythe & Donna

Harrison, State Regulation of Chemical Abortion After Dobbs, 16 Liberty U. L. Rev.

377, 377 (2022).

       Amici agree with Plaintiffs that the FDA’s actions have contravened these

federal laws, and, accordingly, have violated the Administrative Procedure Act. By

exceeding the scope of its delegated power from Congress, the FDA has subverted



2
  Questions and Answers on Mifepristone for Medical Termination of Pregnancy Through Ten
Weeks      Gestation,    U.S.    Food      &      Drug     Admin.       (Jan.   4,    2023),
https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
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weeks-gestation.
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Congress’ public policy interests in patient safety. As the U.S. House Committee on

Government Reform (now known as the Committee on Oversight and

Accountability)’s Subcommittee on Criminal Justice, Drug Policy and Human

Resources has recognized:

        The integrity of the FDA in the approval and monitoring of RU-486 has
        been substandard and necessitates the withdrawal of this dangerous and
        fatal product before more women suffer the known and anticipated
        consequences or fatalities. RU-486 is a hazardous drug for women, its
        unusual approval demonstrates a lower standard of care for women, and
        its withdrawal from the market is justified and necessary to protect the
        public’s health.

Staff of Subcomm. on Crim. Just., Drug Pol’y and Hum. Res. of the H. Comm. on

Gov’t Reform, 109th Cong., The FDA and RU-486: Lowering the Standard for

Women’s Health 40 (Subcomm. Print 2006). Amici highlight how chemical abortion

drugs pose serious threats to the health and safety of women and girls, and a Section

705 stay of the FDA’s approval of chemical abortion drugs is in the interest of public

policy to protect patient safety, which is why the Court should deny the emergency

motion for a stay pending appeal.3



3
  Preliminary injunctions have four factors: “(1) a substantial likelihood of prevailing on the merits;
(2) a substantial threat of irreparable injury if the injunction is not granted; (3) the threatened injury
outweighs any harm that will result to the non-movant if the injunction is granted; and (4) the
injunction will not disserve the public interest.” Ridgely v. Fed. Emergency Mgmt. Agency, 512
F.3d 727, 734 (5th Cir. 2008). The third and fourth factors “merge when the Government is the
opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). “Because the [District] Court [found]
injunctive relief is generally appropriate, Section 705 plainly authorize[d] the lesser remedy of
issuing ‘all necessary and appropriate process’ to postpone the effective date of the challenged
actions.” All. for Hippocratic Med. v. U.S. Food & Drug Admin., No. 2:22-cv-223-Z, slip op. at
66 (N.D. Tex. Apr. 7, 2023).
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                                     ARGUMENT

I.     THE FDA’S FAILURE TO ADHERE TO THE FFDCA’S DRUG APPROVAL PROCESS
       HAS CREATED GRAVE RISKS TO THE HEALTH AND SAFETY OF WOMEN AND
       GIRLS.
       Congress places safeguards within the FFDCA to ensure new drugs are safe

and efficacious for patients. 21 U.S.C. § 355. Chemical abortion drugs already pose

serious threats to patient health and safety. Thus, by unlawfully approving and

deregulating chemical abortion drugs, the FDA is further jeopardizing patients’

welfare. As the Subcommittee on Criminal Justice, Drug Policy and Human

Resources recognized in their report, The FDA and RU-486: Lowering the Standard

for Women’s Health, “the medical community knew what American women would

soon learn by experience,” that chemical abortion drugs pose grave risks. Staff of

Subcomm. on Crim. Just., supra, at 13. The report detailed that “mifepristone

interferes with the body’s immune response . . . is more inconvenient than surgical

abortion . . . is more painful . . . is less effective . . . is associated with more adverse

events . . . [and] causes more frequent and more severe hemorrhage than its surgical

counterpart.” Id. at 13–14.

       Since 2016, the FDA has only required adverse events reporting for deaths

resulting from chemical abortion drugs; reporting is otherwise voluntary. As one

study concludes, “FAERS [the FDA Adverse Event Reporting System] is inadequate

to evaluate the safety of mifepristone” due to reporting discrepancies, and the fact


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that the FDA no longer mandates reporting of non-lethal adverse events. Christina

A. Circucci et al., Mifepristone Adverse Events Identified by Planned Parenthood in

2009 and 2010 Compared to Those in the FDA Adverse Event Reporting System and

Those Obtained Through the Freedom of Information Act, Health Servs. Rsch. &

Managerial Epidemiology, Dec. 21, 2021, at 1, 4. Even so, the FDA has received

FAERS Mifeprex reports through June 30, 2022 documenting 28 deaths, 4,213

adverse events, 1,048 hospitalizations (excluding deaths), 604 blood loss incidents

requiring transfusions, 414 infections, and 71 severe infections. Mifepristone U.S.

Post-Marketing Adverse Events Summary Through 06/30/2022, U.S. Food & Drug

Admin. 1, 1–2 (June 30, 2022), https://www.fda.gov/media/164331/download.

      A 2021 peer-reviewed study showed alarming results; chemical-abortion

related emergency room visits (i.e., visits medically coded as chemical abortion

complications) per 1,000 abortions “went from 8.5 to 51.7, an increase of 507%”

over thirteen years. James Studnicki et al., A Longitudinal Cohort Study of

Emergency Room Utilization Following Mifepristone Chemical and Surgical

Abortions, 1999–2015, Health Servs. Rsch. & Managerial Epidemiology, Nov. 9,

2021, at 1, 5. By 2015, the rate of emergency room visits within 30 days for any

cause (i.e., any emergency room visit regardless of how it was medically coded) per

1000 chemical abortions was 354.8. Id. at 4–5. This means 35.48% of women ended

up in the emergency room within thirty days of taking chemical abortion drugs. Id.


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The study found that “[emergency room] visits following [a chemical abortion] grew

from 3.6% of all postabortion visits in 2002 to 33.9% of all postabortion visits in

2015.” Id. at 8. During the same period, chemical abortions “increased from 4.4%

of total abortions in 2002 to 34.1% in 2015.” Id.

      The actual number of adverse effects is likely much higher due to emergency

room miscoding. As compared to miscoding of surgical abortion-related treatment,

2015 data showed emergency rooms were four times as likely to miscode chemical

abortion-related treatment as miscarriage-related treatment. Id. at 1. Between 2013

and 2015, emergency rooms miscoded up to 60.9% of chemical abortion-related

visits as miscarriage-related visits. Id. at 4. This means that U.S. data are severely

incomplete, and studies have understated the risks chemical abortion drugs pose to

women and girls, which include hemorrhaging and infection due to retained

pregnancy tissue.

      Previously, U.S. abortion studies have reported lower chemical abortion

complication rates than statistics found in international scientific studies. Id. at 7.

For example, studies from Scandinavian countries, which record pregnancy and

medical events more accurately than the United States, give a better picture of

chemical abortion complications than U.S. data. In a study of 42,619 Finnish women

receiving chemical abortions up to nine weeks gestational age, the overall adverse

events were almost fourfold higher in chemical (20.0%) versus surgical abortions


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(5.6%). Maarit Niinimaki et al., Immediate Complications After Medical Compared

with Surgical Termination of Pregnancy, 114 Obstetrics & Gynecology 795, 795

(2009). Women hemorrhaged more commonly after chemical abortion (15.6%

compared with 2.1%). Id. They also had incomplete abortions more often in

chemical abortions (6.7% versus 1.6%). Id. The rate of surgical (re)evacuation was

higher after chemical abortions (5.9%) than surgical abortions (1.8%). Id.

      Another study examined first and second trimester chemical abortions of

18,248 Finnish women. Maarit J. Mentula et al., Immediate Adverse Events After

Second Trimester Medical Termination of Pregnancy: Results of a Nationwide

Registry Study, 26 Hum. Reprod. 927, 927 (2011). Women undergoing first and

second trimester chemical abortions needed surgical evacuation in 9.9% of cases. Id.

at 929. Women specifically undergoing second trimester chemical abortions needed

surgical evacuation in 39% of cases. Id. at 931. Later in pregnancy, the likelihood of

serious complications significantly increases, something that cannot be controlled

for when drugs are sent through the mail and taken at the woman’s discretion.

      A concerning aspect of the initial drug approval is that the FDA had no

evidence of the drugs’ psychological or long-term physical effects. As FDA

Commissioner Jane Henney testified before Congress in February 2000 regarding

the FDA’s review of chemical abortion drugs:

      The primary clinical trials conducted by the sponsor to support the
      safety and efficacy of mifepristone—RU-486—were discussed before
                                          7
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      the Reproductive Health Advisory Committee in July 1996. These
      clinical studies did not include an evaluation of the psychological
      effects of the drug in women or an evaluation of the long-term medical
      consequences of the drug in women. FDA is unaware of any published
      studies on the psychological effects or the long-term medical
      consequences of mifepristone in women.4

      Abortion poses mental health risks for women and girls. “Pregnancy loss

(natural or induced) is associated with an increased risk of mental health problems.”

David C. Reardon & Christopher Craver, Effects of Pregnancy Loss on Subsequent

Postpartum Mental Health: A Prospective Longitudinal Cohort Study, Int’l J. Env’t

Rsch. & Pub. Health, Feb. 23, 2021, at 1, 1. “Research on mental health subsequent

to early pregnancy loss as a result of elective induced abortions has historically been

polarized, but recent research indicates an increased correlation to the genesis or

exacerbation of substance abuse and affective disorders including suicidal ideation.”

Kathryn R. Grauerholz et al., Uncovering Prolonged Grief Reactions Subsequent to

a Reproductive Loss: Implications for the Primary Care Provider, Frontiers Psych.,

May 12, 2021, at 1, 2. Scholarship shows “that the emotional reaction or grief

experience related to miscarriage and abortion can be prolonged, afflict mental

health, and/or impact intimate or parental relationships.” Id. Similarly, “[s]everal

recent international studies have demonstrated that repetitive early pregnancy loss,



4
   Agriculture, Rural Development, Food and Drug Administration, and Related Agencies
Appropriations for 2001: Part 2 of Hearings Before the Subcomm. of the Comm. on
Appropriations, 106th Cong. (2000) (emphasis added). The testimony is available at
https://www.govinfo.gov/content/pkg/CHRG-106hhrg63888/html/CHRG-106hhrg63888.htm.
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including both miscarriage and induced abortions, is associated with increased levels

of distress, depression, anxiety, and reduced quality of life scores in social and

mental health categories.” Id.; see, e.g., Louis Jacob et al., Association Between

Induced Abortion, Spontaneous Abortion, and Infertility Respectively and the Risk

of Psychiatric Disorders in 57,770 Women Followed in Gynecological Practices in

Germany, 251 J. Affective Disorders 107, 111 (2019) (finding “a positive

relationship   between    induced    abortion . . . and    psychiatric   disorders   in

gynecological practices in Germany”).

      “In the case of medical abortion, consideration needs to be given to the

pharmacological effects of mifepristone (RU486), in addition to any procedural

consequences.” Christina Camilleri et al., Biological, Behavioral and Physiological

Consequences of Drug-Induced Pregnancy Termination at First-Trimester Human

Equivalent in an Animal Model, Frontiers NeuroSci., May 29, 2019, at 1, 2. One

study examined the “biological, behavioral and physiological consequences of

pharmacologically terminating a pregnancy at mid-term (first-trimester human

equivalent) in an animal model.” Id. at 13. The researchers concluded, “[t]aken

together, our analyses appear to indicate a significant effect of pregnancy

termination on the biological (rat weight, food intake, vaginal impedance),

physiological (oxidative balance) and most especially, behavioral parameters

(sucrose consumption, rearings, distance active, percentage time active, overall


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speed) measured.” Id. The study suggested further research regarding chemical

abortion’s impact on physiology and neurophysiology to help understand chemical

abortion’s impact on humans. Id. at 16. In sum, chemical abortion drugs already pose

serious threats to patient welfare. By subverting the FFDCA’s patient safeguards,

the FDA is playing a dangerous game with the health and safety of women and girls,

which is why this Court should allow the District Court’s Section 705 stay of the

FDA’s approval of chemical abortion drugs to go into effect.

II.   THE FDA ENDANGERS PREGNANT ADOLESCENTS SEEKING CHEMICAL
      ABORTION DRUGS BY UNLAWFULLY WAIVING THE PEDIATRIC STUDY
      REQUIREMENT.

      Under the Pediatric Research Equity Act (PREA), assessments of new drugs

must include studies showing the safety and effectiveness of the drug for pediatric

use, as well as the proper dosing and administration for adolescent patients. 21

U.S.C. § 355c. The FDA can waive the pediatric rule “[i]f the course of the disease

and the effects of the drug are sufficiently similar in adults and pediatric

patients . . . .” Id. at § 355c(a)(2)(B)(i). In the initial drug approval of chemical

abortion drugs in 2000, the FDA waived the pediatric rule, incorrectly stating “there

is no biological reason to expect menstruating females under age 18 to have a

different physiological outcome with the regimen.” Compl. Ex. 24, at 7. Contrary to

the FDA’s assertion, adolescent patients seeking chemical abortions face unique




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challenges that place them in dissimilar conditions to adult women, and waiving the

pediatric rule jeopardizes the health and safety of adolescent patients.

       Adolescents do not have fully developed decision-making capabilities. As the

Supreme Court acknowledged in H.L. v. Matheson, “[t]he medical, emotional, and

psychological consequences of an abortion are serious and can be lasting; this is

particularly so when the patient is immature.” 450 U.S. 398, 411 (1981), overruled

on other grounds by Dobbs v. Jackson Women’s Health Organization, 142 S. Ct.

2228 (2022). Generally, “[a]ppropriate decisional capacity and legal empowerment

are the determinants of decision-making authority in medicine.” Aviva L. Katz et

al., Informed Consent in Decision-Making in Pediatric Practice, Pediatrics, Aug.

2016, at e1, e2. Nevertheless, “[a] reliance on individual liberties and autonomy in

the pediatric patient is not realistic or legally accepted, so parents or other surrogates

provide ‘informed permission’ for diagnosis and treatment, with the assent of the

child as developmentally appropriate.” Id. Consequently, parental guidance is

instrumental for an adolescent patient’s informed consent.5 Parental involvement

helps an adolescent patient select a competent healthcare professional who

prioritizes her health. Child Interstate Abortion Notification Act: Hearing on H.R.


5
  The FDA’s approval and deregulation of chemical abortion drugs also blatantly ignores parents’
constitutional rights to the care and upbringing of their minor pregnant daughters. See Wisconsin
v. Yoder, 406 U.S. 205, 232 (1972) (“The history and culture of Western civilization reflect a
strong tradition of parental concern for the nurture and upbringing of their children. This primary
role of the parents in the upbringing of their children is now established beyond debate as an
enduring American tradition.”).
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2299 Before the Subcomm. on the Const. of the H. Comm. on the Judiciary, 112th

Cong. 19 (2012) (statement of Teresa Stanton Collett, Professor of Law, University

of St. Thomas School of Law). Parents may “provide additional medical history and

information [regarding their minor daughter] to abortion providers prior to [the]

performance of the abortion,” safeguard that an adolescent girl understands the

medical risks of the procedure, and give her advice during the informed consent

process. Id. at 26–27. Moreover, parental involvement “ensures that the parents have

the ability to monitor for post-abortion complications.” Id. at 19.

      Adolescents have high risk pregnancies and often delay prenatal care.

“Adolescence is a critical period marking phenomenal changes including rapid

physical, psychosocial, sexual and cognitive maturation, and nutrient needs of

adolescents are higher than at any other stage in the lifecycle.” Nadia Akseer et al.,

Characteristics and Birth Outcomes of Pregnant Adolescents Compared to Older

Women: An Analysis of Individual Level Data from 140,000 Mothers from 20 RCTs,

eClinicalMed., Feb. 26, 2022, at 1, 3. During pregnancy, “adolescent girls are a

particularly vulnerable group since the demands of regular growth and development

are augmented by the heightened nutritional requirements of supporting a fetus.” Id.

Due to adolescent patients’ developing bodies, they have a “biological

predisposition for high-risk pregnancies.” Id. at 12. The high-risk nature of

adolescent pregnancy is compounded by the fact that pregnant adolescent patients


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often delay care. Nathalie Fleming et al., Adolescent Pregnancy Guidelines, 37 J.

Obstetrics & Gynaecology Can. 740, 743 (2015). There are multiple reasons

adolescent patients delay care, including:

      lack of knowledge about the importance of prenatal care and lack of
      understanding of the consequences of its absence; history as a victim of
      violence, desire to hide pregnancy, fear of potential apprehension of the
      baby, contemplation of abortion services; concerns about lack of
      privacy or judgemental attitudes from health care providers or adults;
      and financial barriers.
Id. Unfortunately, “[l]ack of, or delayed, adolescent prenatal care is associated with

adverse maternal, obstetrical, and neonatal outcomes.” Id.

      The FDA authorized chemical abortion drugs without knowing the drugs’

impact on adolescent development, especially its effect on girls’ immune systems.

See Subcomm. on Crim. Just., supra, at 12 (recognizing medical concerns about

mifepristone’s immune system inhibition). Mifepristone, an anti-progestin,

interferes with the immune system “by binding with a woman’s progesterone

receptors on the nuclear membranes of cells in the uterus, ovary, brain, breast, and

immune system.” Forsythe, supra, at 388. Since mifepristone has blocked uterine

progesterone receptors, “the mother’s cells in the placenta stop functioning, which

eventually leads to the death of the embryo through, in essence, starvation,” and at

a certain point, the mother loses her unborn child. Id. at 388–389. However,

mifepristone has another effect upon the body: “the blockade of glucocorticoid

receptors also induces an unexpected immune blockade, suppressing the immune

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system, which can result in increased susceptibility to overwhelming infection”

throughout the body. Id. at 389; see also Ralph P. Miech, Pathophysiology of

Mifepristone-Induced Septic Shock Due to Clostridium Sordellii, 39 Annals

Pharmacotherapy 1483, 1483 (2005) (“[I]t it appears that the mechanisms of

mifepristone action favor the development of infection that leads to septic shock and

intensifies the actions of multiple inflammatory cytokines, resulting in fulminant,

lethal septic shock.”). Thus, adolescent patients seeking chemical abortion drugs

face unique challenges compared to their adult counterparts. By waiving the

pediatric study, the FDA has endangered girls seeking chemical abortion drugs.

III.   THE FDA HAS CREATED SERIOUS HAZARDS FOR WOMEN’S HEALTH AND
       SAFETY BY PERMITTING MAIL-ORDER CHEMICAL ABORTION DRUGS IN
       VIOLATION OF FEDERAL LAW.

       Federal law bars the use of the United States Postal Service and private

carriers from mailing abortion-inducing drugs, including the chemical abortion

regimen of mifepristone and misoprostol. 18 U.S.C. §§ 1461–1462.6 Amici agree

with Plaintiffs that the FDA’s actions permit distribution of these drugs through

means prohibited under 18 U.S.C. §§ 1461–1462. Pls.’ Br. In Supp. of Their Mot.




6
  Members of Congress recently expressed their opposition to the FDA’s decision to eliminate the
in-person dispensing requirement for chemical abortion drugs, recognizing the dangers the drugs
pose to women and girls, and how the FDA’s actions violate federal criminal law. Letter from
Cindy Hyde-Smith, Senator, U.S. Cong., et al., to Robert Califf, Comm’r, U.S. Food & Drug
Admin.      (Jan.   26,    2023),     https://www.hydesmith.senate.gov/sites/default/files/2023-
01/012623%20Bicameral%20Letter%20to%20FDA%20re%20Abortion%20Drugs.pdf.
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for Prelim. Inj. 20–21.7 By contravening federal law to allow telemedicine and mail-

order chemical abortion drugs, the FDA is endangering women’s health and safety.

       In-person visits are necessary for chemical abortions. The Mayo Clinic states

that: “Medical abortion isn’t an option if you . . . [c]an’t make follow-up visits to

your doctor or don’t have access to emergency care.” Medical Abortion, Mayo

Clinic (July 29, 2022), https://www.mayoclinic.org/tests-procedures/medical-

abortion/about/pac-20394687 (emphasis in original). Medical institutions are in

agreement about this, as “[a] medical abortion involves at least two visits to a

doctor’s office or clinic.” Medical Abortion, Univ. of Cal. San Francisco Health,

www.ucsfhealth.org/treatments/medical-abortion (last visited Apr. 11, 2023).

Follow-up visits and reporting are critical to ensure that if a woman has retained

tissue, she receives essential follow-up care.

       But even before a chemical abortion, healthcare providers must confirm a

woman is a medically appropriate candidate for chemical abortion. In most states,

this consultation is with a physician. In a few states, like California, it can be done

by a midlevel provider, such as a nurse practitioner, certified nurse-midwife, or

physician assistant. Cal. Bus. & Prof. Code § 2253(b) (2022). A number of medical


7
  In response to the Department of Justice Office of Legal Counsel’s recent memo contending
federal laws do not prohibit the mailing of chemical abortion drugs, Members of Congress wrote
to Attorney General Merrick Garland, reminding him that the “plain text and clear meaning of the
law” prohibit the mailing of chemical abortion drugs. Letter from James Lankford, Senator, U.S.
Cong., et al., to Merrick B. Garland, Att’y Gen., U.S. Dep’t of Just. 1 (Jan. 25, 2023),
https://www.lankford.senate.gov/imo/media/doc/dojletterabortionmail.pdf.
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conditions make a woman ineligible to take chemical abortion drugs, including

having a potentially dangerous ectopic pregnancy (a pregnancy outside of the uterus)

or having an intrauterine device (IUD) in place. Questions and Answers on

Mifepristone for Medical Termination of Pregnancy Through Ten Weeks Gestation,

supra. Chemical abortion cannot terminate an ectopic pregnancy and should not be

used after the first seventy days of pregnancy due to heightened risk to the woman’s

health. Id. A physician can only diagnose an ectopic pregnancy by blood tests and

an ultrasound, which means a physician cannot determine via telemedicine whether

a pregnancy is ectopic. Ectopic Pregnancy, Mayo Clinic (Mar. 12, 2022),

https://www.mayoclinic.org/diseases-conditions/ectopic-pregnancy/diagnosis-

treatment/drc-20372093.

      Determining gestational age usually is done in-person by ultrasound.

Ultrasound is the most accurate method to establish or confirm gestational age in the

first trimester. Comm. on Obstetric Practice, Am. Coll. of Obstetricians &

Gynecologists et al., Methods for Estimating the Due Date, Comm. Op. No. 700, at 1

(reaffirmed 2022). Dating a pregnancy by using a woman’s last menstrual period

(LMP) is far less accurate. The American College of Obstetricians and Gynecologists

(ACOG) indicates only one half of women accurately recall their LMP. Id. at 2. In

one study, forty percent of women had more than a five-day discrepancy between

their LMP dating and the ultrasound dating. Id. In this regard, LMP dating is not


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nearly as precise as an ultrasound. But an accurate measurement of gestational age is

required to show that a woman is even a candidate for a chemical abortion.

      Without an in-person evaluation, abortion providers also cannot test for Rh

negative blood type. During pregnancy, if a woman has Rh negative blood while her

fetus is Rh positive, the woman’s body may produce antibodies after exposure to

fetal red blood cells. Rh Factor Blood Test, Mayo Clinic (July 29, 2022),

https://www.mayoclinic.org/tests-procedures/rh-factor/about/pac-20394960.

Abortion can cause maternal exposure to fetal blood, even in the first trimester. Id.

Therefore, if indicated, a healthcare provider must give a woman with Rh

negative blood an Rh immuneglobulin injection. Without the injection, antibodies

can damage future pregnancies by creating life-threatening anemia in fetal red blood

cells. Id. ACOG describes that “Rh testing is recommended in patients with

unknown Rh status before medication abortion, and Rh D immunoglobulin should

be administered if indicated.” Comm. On Practice Bulletins – Gynecology and the

Soc’y of Family Planning, Am. Coll. of Obstetricians & Gynecologists, Medication

Abortion Up to 70 Days of Gestation, Comm. Op. 225, at 40 (reaffirmed 2023). Rh

negative blood typing is thus a medically necessary test, but it cannot occur during

chemical abortions that are done entirely via telemedicine.

      A woman seeking an abortion may be facing intimate partner violence (IPV).

There are “[h]igh rates of physical, sexual, and emotional IPV . . . among women


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seeking a[n abortion].” Megan Hall et al., Associations Between Intimate Partner

Violence and Termination of Pregnancy: A Systematic Review and Meta-Analysis,

PLOS Med., Jan. 7, 2014, at 1, 15. For women seeking abortion, the prevalence of

IPV is nearly three times greater than women continuing a pregnancy. Comm. on

Health Care for Underserved Women, Am. Coll. of Obstetricians & Gynecologists,

Reproductive and Sexual Coercion, Comm. Op. No. 554, at 2 (Feb. 2013). Post-

abortive IPV victims also have a “significant association” with “psychosocial

problems including depression . . . , suicidal ideation . . . , stress . . . , and disturbing

thoughts.” Hall, supra, at 11.

       Similarly, intimate partners, family members, and sex traffickers may be

asserting reproductive control over the woman, which are “actions that interfere with

a woman’s reproductive intentions.” Sam Rowlands & Susan Walker, Reproductive

Control by Others: Means, Perpetrators and Effects, 45 BMJ Sexual & Reprod.

Health 61, 62, 65 (2019). In the context of abortion, reproductive control not only

produces coerced abortions or continued pregnancies, but it also affects whether the

pregnancy was intended in the first place. Id. at 62–63. Reproductive control is a

prevalent issue for women. “As many as one-quarter of women of reproductive age

attending for sexual and reproductive health services give a history of ever having

suffered [reproductive control].” Id. at 62.




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      Medical professionals must “[s]creen for IPV in a private and safe setting with

the woman alone and not with her partner, friends, family, or caregiver.” Comm. on

Health Care for Underserved Women, Am. Coll. of Obstetricians & Gynecologists,

Intimate Partner Violence, Comm. Op. No. 518, at 3 (reaffirmed 2022). Yet,

telemedicine cannot ensure that a coercive partner, friend, family member, or

caregiver is not in the room with a woman seeking a chemical abortion. In a

telehealth setting, ACOG recommends healthcare providers screen patients multiple

times because patients may not be able to disclose abuse each time they are screened.

COVID-19 FAQs for Obstetricians-Gynecologists, Obstetrics, Am. Coll. of

Obstetricians & Gynecologists (rev. July 1, 2021), https://www.acog.org/clinical-

information/physician-faqs/covid-19-faqs-for-ob-gyns-obstetrics; see also Intimate

Partner Violence, supra, at 3 (noting IPV screening should occur periodically and

“at various times . . . because some women do not disclose abuse the first time they

are asked”). In other words, domestic violence screening by telehealth “may not

allow individuals the privacy or safety needed to disclose abuse.” Id. Thus, telehealth

ineffectively screens women seeking chemical abortions for domestic violence or

coercion. If she changes her mind, no medical professional is there to help her. She

is left alone to care for her physiological and psychological health, as well as her

safety if complications or IPV arise.




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                                 CONCLUSION

      The FDA’s unlawful approval and deregulation of chemical abortion drugs

subverts Congress’ public policy considerations and safeguards for patient safety.

Amici urge the Court to deny the emergency motion for a stay pending appeal, which

will allow the District Court’s Section 705 stay to go into effect and protect women

and girls from the harms of chemical abortion drugs.

                                      Respectfully submitted,

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April 11, 2023




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   A. I hereby certify, pursuant to Federal Rule of Appellate Procedure 32(g), that
      this brief complies with the type-volume limit of Fed. R. App. P. 29(a)(5)
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                          CERTIFICATE OF SERVICE

       I certify that on April 11, 2023, I electronically filed the foregoing brief with
the Clerk of Court throughout the CM/ECF system, which shall send notification of
such filing to any CM/ECF participants.

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                         APPENDIX




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Tommy Tuberville (AL)




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              United States House of Representatives

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 Mark Alford (MO–04)                           Russell Fry (SC–07)

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 Randy Feenstra (IA–04)                      Doug Lamborn (CO–05)


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